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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


 Tellagemini Communication LLC,                                  Case No. 6:20-cv-588
           Plaintiff,                                            Patent Case
           v.                                                    Jury Trial Demanded
 Godaddy Inc.,

           Defendant.


                              COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Tellagemini Communication LLC (“Plaintiff”), through its attorneys, complains

of Godaddy Inc. (“Defendant”), and alleges the following:

                                                   PARTIES

         1.       Plaintiff Tellagemini Communication LLC is a corporation organized and existing

under the laws of Washington that maintains its principal place of business at 3135 East 11th

Avenue, Spokane, WA 99202.

         2.       Defendant Godaddy Inc. is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 600 Congress Avenue, Austin, TX

78701.

                                                JURISDICTION

         3.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

         4.       This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




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        5.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                 VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

committed acts of patent infringement in this District, and has an established place of business in

this District. In addition, Plaintiff has suffered harm in this district.

                                            PATENT-IN-SUIT

        7.      Plaintiff is the assignee of all right, title and interest in United States Patent No.

7,062,036 (the “’036 Patent”); (the “Patent-in-Suit”); including all rights to enforce and

prosecute actions for infringement and to collect damages for all relevant times against infringers

of the Patent-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to

prosecute the present action for infringement of the Patent-in-Suit by Defendant.

                                           The ’036 Patent

        8.      The ’036 Patent is entitled “Telephone call information delivery system,” and

issued 6/13/2006. The application leading to the ’036 Patent was filed on 7/1/2002. A true and

correct copy of the ’036 Patent is attached hereto as Exhibit 1 and incorporated herein by

reference.

        9.      The ’036 Patent is valid and enforceable.

                          COUNT 1: INFRINGEMENT OF THE ’036 PATENT

        10.     Plaintiff incorporates the above paragraphs herein by reference.

        11.     Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’036 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the


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charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’036 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’036 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’036 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

          12.   Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’036 Patent Claims, by having its employees internally

test and use these Exemplary Products.

          13.   The service of this Complaint upon Defendant constitutes actual knowledge of

infringement as alleged here.

          14.   Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’036 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’036 Patent. Thus, on

information and belief, Defendant is contributing to and/or inducing the infringement of the ’036

Patent.

          15.   Induced Infringement. Defendant actively, knowingly, and intentionally has

been and continues to induce infringement of the ’036 Patent, literally or by the doctrine of

equivalents, by selling Exemplary Defendant Products to their customers for use in end-user

products in a manner that infringes one or more claims of the ’036 Patent.




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        16.     Contributory Infringement. Defendant actively, knowingly, and intentionally

has been and continues materially contribute to their own customers’ infringement of the ’036

Patent, literally or by the doctrine of equivalents, by selling Exemplary Defendant Products to

their customers for use in end-user products in a manner that infringes one or more claims of the

’036 Patent. Moreover, the Exemplary Defendant Products are not a staple article of commerce

suitable for substantial noninfringing use.

        17.     Exhibit 2 includes charts comparing the Exemplary ’036 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’036 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’036 Patent Claims.

        18.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 2.

        19.     Plaintiff is entitled to recover damages adequate to compensate for Defendant’s

infringement.

                                            JURY DEMAND

        20.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests the following relief:

       A.       A judgment that the ’036 Patent is valid and enforceable;

       B.       A judgment that Defendant has infringed, contributorily infringed, and/or induced

                infringement of one or more claims of the ’036 Patent;

       C.       An accounting of all damages not presented at trial;




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     D.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

             for Defendant’s past infringement and, with respect to the ’036 patent, any

             continuing or future infringement, up until the date such judgment is entered

             including pre- or post-judgment interest, costs, and disbursements as justified

             under 35 U.S.C. § 284;

     E.      And, if necessary, to adequately compensate Plaintiff for Defendant’s

              infringement, an accounting:

            i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                 and that Plaintiff be awarded its reasonable attorneys’ fees against Defendant

                 that it incurs in prosecuting this action;

           ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting this

                 action; and

          iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                 deems just and proper.



Dated: June 29, 2020                Respectfully submitted,


                                    /s/ Isaac Rabicoff
                                    Isaac Rabicoff
                                    Rabicoff Law LLC
                                    73 W Monroe St
                                    Chicago, IL 60603
                                    (773) 669-4590
                                    isaac@rabilaw.com

                                    Counsel for Plaintiff
                                    Tellagemini Communication LLC




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